          Case 6:17-cv-01578-AA          Document 28      Filed 04/09/19   Page 1 of 1




                             IN THE UNITED STATES DISTRICT COURT

                                 FOR THE DISTRICT OF OREGON




DYLAN BLANKS,

                Plaintiff,                                   Civ. No. 6:17-cv-01578-AA

                                                             JUDGMENT

                v.

UNIVERSITY OF OREGON, LORETTA
CANTWELL and LEANN GUTIERREZ,
in their individual capacities and their official
capacities,

            Defendants.
___________________________________



        This action is DISMISSED with prejudice and without an award of attorney fees or costs

to any party.



        DATED: 4/9/2019

                                                Mary L. Moran, Clerk

                                                By    /s/ Cathy Kramer
                                                      Deputy Clerk



1 –JUDGMENT
 
